\. Case 1:19-mj-00927 Document 1 Filed on 09/20/19 in TXB hited Ge bthet Court

AO 91 (Rev. 11/11) Criminal Complaint Fel UYin Southern District of Texas

UNITED STATES DISTRICT COURT
for the : SEP 2 0 2019

Southern District of Texas

David J, Bradley, Clerk of Caurt

United States of America )
V. Case No. 19 - 1Q- mM) . AD)
Salvador ZIRATE Urenda
Salvador ZIRATE Urenda )
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of in the county of Cameron in the Southern District of Texas, the defendant(s) violated:

Code Section Offense Description
Title 21, United States Code, Section 841(a)() knowingly and intentionally possess with intent to distribute 80.72
kilograms of liquid methamphetamine, a Schedule II controlled
substance.

This criminal complaint is based on these facts:

On September 19, 2019, Salvador ZIRATE Urenda entered the United States from Mexico via the vehicle lane at the Veterans
International Bridge in Brownsville, Texas. At the primary inspection lane, a U.S. Customs and Border Protection Officer
received a negative Customs declaration from ZIRATE Urenda. The Customs and Border Protection Officer observed three 5-
gallon buckets in the trunk of the vehicle and referred the vehicle for secondary inspection.

Further inspection of the vehicle operated by ZIRATE Urenda revealed that the three 5-gallon buckets contained a liquid
substance that field tested positive for the characteristics of methamphetamine with a total weight of 80.72 kilograms.

During his interview, ZIRATE Urenda admitted to knowingly and intentionally transporting the three buckets for a drug
trafficking organization from Mexico into the United States.

{_] Continued on the attached sheet. ay

: U Complainant's Signature

Marisella Valenzuela, Special Agent
Printed name and title

Sworn to before me and signed in my presence. LoL,
10, Jor 47 PY af —

 

 

Date fo Judge ‘s signdture
Brownsville, Texas Ronald G. Morgan _ U.S. Magistrate Judge

 

City and State Printed name and title
